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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION
                                 NO. 5:18-CV-488-D



 TRACY SEMPOWICH,


                  Plaintiff,



 v.                                                         ORDER


 TACTILE SYSTEMS TECHNOLQGY,
 INC. d/b/a TACTILE MEDICAL,



                  Defendant.


          This matter is before the Court upon Plaintiff Tracy Sempowich's Motion to Seal her

personal identifying information contained in exhibits filed by Defendant Tactile Systems

Technology, Inc. ("Tactile"). [DE-124]. Having considered the Motion and supporting materials,

and having provided adequate notice and opportunity for interested parties to object, the Court

finds that Plaintiffs date of birth and social security number are protected information

warranting redaction under Fed. R. Civ. P. 5.2, and that redacting Plaintiffs home address from

these ?1aterials is narrowly tailored and serves a compelling government interest in safety and

security and the prevention of fraudulent activity, such that it overcomes any right of public

access.

          Accordingly, it is hereby ORDERED that Plaintiffs Motion is GRANTED as follows:




             Case 5:18-cv-00488-D Document 180 Filed 05/13/20 Page 1 of 2
1. The following documents shall remain under Seal:

        a. ECF Dkt. No. 98-5 (Ex. M. to Counterstatement-2018 Form w-2)

        b. ECF Dkt. No. 98-4 (Def.'s Ex. L to Counterstatement)

        c. ECF Dkt. No. 98-8 (Def.'s Ex. P to Counterstatement)

        d. ECF Dkt. No. 98-9 (Def.'s Ex. S to Counterstatement)

        e. ECF bkt. No. 101 1 (Def.'s Ex. A to Defendant's Response in Opposition

             to Plaintiffs Motion to Exclude Opinion Testimony of Gregory Cowhey).
                          '                                                             '


2. Within seven (7) days of entry of this Order, Plaintiff shall file on the public docket thesi'

    exhibits with the following information redacted: all information as required under Fed. R.

    Civ. P. 5.2 as well as Plaintiffs home address.


     So Ordered, this 13th day of May, 2020.




                                                 United States Magistrate Judge




I Plaintiffs motion indicates Ex. A to Defendant's Response is located at Docket Entry 100, but it is
actually found at Docket Entry 101. Plaintiff shall file a notice within seven (7) days advising the court
as to whether there is continued need to maintain Docket Entry 100 under seal, and ifthere is not, the
Clerk shall unseal Docket Entry 100 without further order.




        Case 5:18-cv-00488-D Document 180 Filed 05/13/20 Page 2 of 2
